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                      UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF TEXAS
                                 Fort Worth Division

                                                 )
 UNITED STATES OF AMERICA,                       )
                                                 )
        Plaintiff,                               )
                                                 )
                v.                               )     4:21-cr-00005-O
                                                 )
 THE BOEING COMPANY,                             )
                                                 )
        Defendant.                               )
                                                 )

                                    SCHEDULING ORDER

       Having considered the Government’s Status Report and the proposed Scheduling Order,

the Court hereby ORDERS that:

       By June 18, 2025, the families of the victims of the Lion Air Flight 610 and Ethiopian

Airlines Flight 302 airplane crashes, and any other person claiming status as a “crime victim”

under the Crime Victims’ Rights Act, 18 U.S.C. § 3771, must file any responsive briefs to the

Government’s Motion to Dismiss the Information (ECF No. 312). A responsive brief may not

exceed 50 pages (excluding the table of contents and table of authorities).

       By June 25, 2025, the Government and The Boeing Company must file any replies to the

responsive briefs.

       SO ORDERED this 1st day of June, 2025.


                                               _____________________________________
                                               Reed O’Connor
                                               UNITED STATES DISTRICT JUDGE
